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                                           July 5, 2023
Via ECF:
The Honorable Jennifer H. Rearden
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                Re:    Ulku Rowe v. Google LLC, Case No. 19-cv-08655
Dear Judge Rearden:

        We represent the Plaintiff, Ulku Rowe, in the above-referenced matter. Pursuant to Your
Honor’s June 28 Order and Individual Rule 7.C., the current deadline to submit demonstrative
exhibits is July 14, 2023. We write on behalf of both Parties to respectfully request a brief one-
week extension of the deadline to submit their demonstratives to the Court, to July 21, 2023. In
light of the Parties’ anticipated revisions to the Joint Pre-Trial Order, the Parties would benefit
from an additional week to prepare their demonstrative exhibits. This is the Parties’ first request
for an extension with Judge Rearden and this extension will not affect any other deadlines in this
matter.



                                              Respectfully submitted,

                                              /s/ Cara E. Greene
                                              Cara E. Greene
                                              Outten & Golden LLP
                                              685 Third Avenue, 25th Floor
                                              New York, NY 10017
                                              Counsel for the Plaintiff



cc:    All Parties (via ECF)
